     Case 2:07-cr-00144-RHW    ECF No. 62   filed 06/20/08   PageID.128 Page 1 of 4




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 6
                              UNITED STATES DISTRICT COURT
 7                           EASTERN DISTRICT OF WASHINGTON
 8
      UNITED STATES OF AMERICA,                )    No. CR-07-144-RHW-2
 9                                             )
                        Plaintiff,             )    ORDER GRANTING MOTION TO
10                                             )    RECONSIDER AND SETTING
      v.                                       )    CONDITIONS OF RELEASE
11                                             )
      JOSHUA VAUSE,                            )
12                                             )
                        Defendant.             )
13                                             )

14         At   the   June    20,   2008,   hearing     on   Defendant’s    Motion    to

15   Reconsider Bond (Ct. Rec. 58), Defendant was present with counsel

16   David Partovi.     The United States was represented by Assistant U.S.

17   Attorney K. Jill Bolton.         Also present was U.S. Probation Officer

18   Matt Thompson.

19         The United States deferred to the recommendation of Pretrial

20   Services.    Pretrial Services did not oppose Defendant’s release.

21   Accordingly,

22         IT IS ORDERED the Defendant’s Motion (Ct. Rec. 58) is GRANTED.

23   Defendant shall be released on the following conditions:

24         1.    Defendant shall not commit any offense in violation of

25   federal, state or local law.

26         2.    Defendant shall advise the court and the United States

27   Attorney in writing before any change in address.

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     ORDER GRANTING MOTION TO RECONSIDER AND SETTING CONDITIONS OF
     RELEASE - 1
     Case 2:07-cr-00144-RHW   ECF No. 62   filed 06/20/08   PageID.129 Page 2 of 4




 1         3.    Defendant shall appear at all proceedings and surrender as
 2   directed for service of any sentence imposed.
 3         4.    Defendant shall sign and complete form A.O. 199C before
 4   being released and shall reside at the address furnished.
 5         5.    Except for court-related appearances, 2 hours each week
 6   for attendance at spiritual services, employment, and drug testing,
 7   Defendant shall remain under home detention.
 8         6.    Defendant    shall   remain     in    the    Eastern    District    of
 9   Washington while the case is pending.            On a showing of necessity,
10   Defendant may obtain prior written permission to leave this area
11   from the United States Probation Office.
12         7.    Defendant    shall    maintain       or     actively   seek    lawful
13   employment.
14         8.    Defendant shall not possess a firearm, destructive device
15   or other dangerous weapon.
16         9.    Defendant is further advised, pursuant to 18 U.S.C. §
17   922(n), it is unlawful for any person who is under indictment for a
18   crime punishable by imprisonment for a term exceeding one year to
19   ship or transport in interstate or foreign commerce any firearm or
20   ammunition or receive any firearm or ammunition which has been
21   shipped or transported in interstate or foreign commerce.
22         10.   Defendant shall refrain from the excessive use of alcohol,
23   and the use or possession of a narcotic drug and other controlled
24   substances defined in 21 U.S.C. § 802, unless prescribed by a
25   licensed medical practitioner.        Defendant shall undergo a substance
26   abuse evaluation, if directed by a United States Probation Officer,
27   and complete treatment indicated by the evaluation. Defendant shall
28
     ORDER GRANTING MOTION TO RECONSIDER AND SETTING CONDITIONS OF
     RELEASE - 2
     Case 2:07-cr-00144-RHW       ECF No. 62    filed 06/20/08   PageID.130 Page 3 of 4




 1   be responsible for the cost of testing, evaluation and treatment
 2   unless       the    United    States      Probation     Office    should    determine
 3   otherwise.         The United States Probation Office shall also determine
 4   the time and place of testing and evaluation and the scope of
 5   treatment.          If random urinalysis testing is not done through a
 6   treatment program, random urinalysis testing shall be conducted
 7   through Pretrial Services, and shall not exceed six (6) times per
 8   month.
 9          11.    Defendant shall report to the United States Probation
10   Office before or immediately after his release and shall report as
11   often as they direct, at such times and in such manner as they
12   direct.      Defendant shall contact his attorney at least once a week.
13          12.    Defendant shall post a $25,000 appearance bond, to be co-
14   signed by Defendant’s father.
15          Defendant is advised a violation of any of the foregoing
16   conditions of release may result in the immediate issuance of an
17   arrest warrant, revocation of release and prosecution for contempt
18   of court, which could result in imprisonment, a fine, or both.
19   Specifically, Defendant is advised a separate offense is established
20   by the knowing failure to appear and an additional sentence may be
21   imposed for the commission of a crime while on this release.                         In
22   this     regard,      any    sentence     imposed     for     these   violations     is
23   consecutive to any other sentence imposed.
24          IT IS FURTHER ORDERED the United States Marshal shall keep
25   Defendant in custody until notified by the District Court Executive
26   or judicial officer that Defendant has posted bond and/or complied
27   with all other conditions for release.                 Until such time, Defendant
28
     ORDER GRANTING MOTION TO RECONSIDER AND SETTING CONDITIONS OF
     RELEASE - 3
     Case 2:07-cr-00144-RHW   ECF No. 62   filed 06/20/08   PageID.131 Page 4 of 4




 1   shall be produced before the appropriate judicial officer at the
 2   time and place specified.
 3         DATED June 20, 2008.
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 5                             S/ CYNTHIA IMBROGNO
                          UNITED STATES MAGISTRATE JUDGE
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     ORDER GRANTING MOTION TO RECONSIDER AND SETTING CONDITIONS OF
     RELEASE - 4
